Case 1:19-cr-10080-NMG Document 1145-10 Filed 05/01/20 Page 1 of 8




           EXHIBIT J
Case 1:19-cr-10080-NMG Document 1145-10 Filed 05/01/20 Page 2 of 8
Case 1:19-cr-10080-NMG Document 1145-10 Filed 05/01/20 Page 3 of 8
Case 1:19-cr-10080-NMG Document 1145-10 Filed 05/01/20 Page 4 of 8
Case 1:19-cr-10080-NMG Document 1145-10 Filed 05/01/20 Page 5 of 8
Case 1:19-cr-10080-NMG Document 1145-10 Filed 05/01/20 Page 6 of 8
Case 1:19-cr-10080-NMG Document 1145-10 Filed 05/01/20 Page 7 of 8
Case 1:19-cr-10080-NMG Document 1145-10 Filed 05/01/20 Page 8 of 8
